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14                                UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                            Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                      DECLARATION OF JADA
19    COUNTY AND MUNICIPAL EMPLOYEES,                   COMMODORE
      AFL-CIO, et al.,
20
               Plaintiffs,
21
          v.
22

23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24
               Defendants.
25

26
27

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     Declaration of Jada Commodore, No. 3:25-cv-01780-WHA
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 1                              DECLARATION OF JADA COMMODORE

 2   I, Jada Commodore, declare as follows:
 3          1.      I am a legal administrative assistant employed by Altshuler Berzon LLP. I am over 18
 4   years of age and competent to give this declaration. This declaration is based on my personal
 5   knowledge, information, and belief.
 6          2.      I have reviewed the spreadsheets filed by Defendants on March 31, 2025 in
 7   connection with Defendants’ Response to Plaintiffs’ Motion to Compel Compliance with Preliminary
 8   Injunction or to Hold Defendants in Contempt, Dkts. 168-2, 168-3, and 168-4. I was directed to
 9   determine the number of terminated probationary employees listed in the spreadsheet who had been
10   returned to administrative leave, and the number returned to active service, for the departments that
11   provided those spreadsheets.
12          3.      At the Department of Defense (Dkt. 168-2), 211 terminated probationary employees
13   had already been returned to full duty as of March 31, 2025, and one was scheduled to return to full
14   duty on April 2. No terminated probationary employees were listed as being on administrative leave.
15          4.      At the Department of Veterans Affairs (Dkt. 168-3), 1,069 terminated probationary
16   employees had already been returned to full duty as of March 31, 2025, and another 93 had scheduled
17   dates to return to full duty. Four terminated probationary employees were listed as being on
18   administrative leave. No status was provided for 530 terminated probationary employees.
19          5.      At the Department of the Interior (Dkt. 168-4), 1,095 terminated probationary
20   employees had already been returned to full duty as of March 31, 2025. Another 683 terminated
21   probationary employees were listed as being on administrative leave.
22          I declare under penalty of perjury under the laws of the United States that the foregoing is true
23   and correct. Executed April 3, 2025 at San Francisco, California.
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25                                                        _______________________

26                                                        Jada Commodore
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     Declaration of Jada Commodore, No. 3:25-cv-01780-WHA                                 1
